Case 1:13-cv-03127-PKC Document 31 Filed 01/06/14 Page 1of5

UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

 

RICK HARRISON, JOHN BUCKLEY IIL,
MARGARET LOPEZ, ANDY LOPEZ, Case No. 1:13-cv-03127 (AT)
KEITH LORENSEN, LISA LORENSEN,
EDWARDS LOVE, ROBERT MCTUREOUS,
DAVID MORALES, GINA MORRIS,
MARTIN SONGER, JR., SHELLY SONGER,
JEREMY STEWARD, KESHA STIDHAM,
AARON TONEY, ERIC WILLIAMS, CARL
WINGATE, AND TRACY SMITH, as Personal
Representative of the Estate of Rubin Smith,

 

URNOVER ORDER

Plaintiffs,
VS.

THE REPUBLIC OF SUDAN,

 

Defendant,
VS.

CREDIT AGRICOLE CORPORATE &
INVESTMENT BANK,

Respondent.

 

 

WHEREAS on December 18, 2013, Plaintiffs, Rick Harrison, John Buckley III, Margaret
Lopez, Andy Lopez, Keith Lorensen, Lisa Lorensen, Edwards Love, Robert McTureous, David
Morales, Gina Morris, Martin Songer, Jr., Shelly Songer, Jeremy Steward, Kesha Stidham, Aaron
Toney, Eric Williams, Carl Wingate, and Tracy Smith, as Personal Representative of the Estate of
Rubin Smith (“Plaintiffs”), filed their Petition for Turnover Order Against Credit Agricole
Corporate and Investment Bank (“CA-CIB”) pursuant to 28 U.S.C. § 1610(g), CPLR § 5225(b)

and Federal Rule of Civil Procedure 69(a) ("Petition"), which is currently before the Court;

 
Case 1:13-cv-03127-PKC Document 31 Filed 01/06/14 Page 2 of 5

WHEREAS, Plaintiffs have provided notice to the United States Department of the
Treasury's Office of Foreign Assets Control ("OFAC") of this Petition and OFAC having not
appeared or otherwise objected to the relief sought in the Petition;

WHEREAS, Plaintiffs obtained a judgment in the District Court for the District of
Columbia in the amount of $314,705,896, plus interest (the “Judgment’”), and the entire principal
amount of the Judgment remains unsatisfied; and

WHEREAS, Plaintiffs’ Petition establishes that the funds described in the Petition, totaling

oo (as of June 29, 2012), plus accrued interest (the “Turnover Assets”), are subject to
turnover pursuant to C.P.L.R. § 5225, 28 U.S.C. § 1610(g) and the Terrorism Risk Insurance Act
of 2002, Pub. No. 107-297, 116 Stat. 2322 (2002), codified at 28 U.S.C. § 1610, in partial
satisfaction of Plaintiffs’ Judgment.

AND NOW, this 6th day of _January , 2014 upon Plaintiffs’ Petition, it is
ORDERED, ADJUDGED AND DECREED THAT:

1. The Petition is GRANTED.

2. The Court finds that the Turnover Assets are subject to turnover pursuant to § 201
of the Terrorism Risk Insurance Act of 2002 and are subject to execution and attachment under the
Foreign Sovereign Immunities Act because the owners of the funds are agencies and

instrumentalities of the Republic of Sudan.

3. 2 is an agency and instrumentality of the Sudanese government. The

following accounts, totaling oo. anda (as of June 29, 2012), plus accrued interest,

are subject to execution to satisfy the Plaintiffs’ outstanding judgment:

 

Respondent Bank Originating Entity / Blocking Date Value ($)
Originating Bank (as of June 29, 2012)

CAC Ea a a

 

 

 

 

 

 

 

 
Case 1:13-cv-03127-PKC Document 31 Filed 01/06/14 Page 3 of 5

 

 

CA-CIB zz zl

 

 

 

 

 

instrumentality of the Sudanese government. The following account, totaling HMMM (as of

June 29, 2012), plus accrued interest, is subject to execution to satisfy the Plaintiffs’ outstanding

 

 

 

 

 

 

 

 

 

 

 

judgment:
Respondent Bank _ | Originating Entity / Blocking Date Value ($)
Originating Bank (as of June 29, 2012)
CA-CIB Ezz Ea
5. The Court hereby directs CA-CIB to turn over the Turnover Assets totaling

7 (as of June 29, 2012), together with accrued interest, by wire transfer to Plaintiffs’
counsel, Hall, Lamb and Hall, P.A., pursuant to wire instructions to be furnished to CA-CIB by
Plaintiffs, in partial satisfaction of Plaintiffs’ Judgment, within fifteen (15) days from the date of
this Order.

6. Upon turnover by CA-CIB of the funds identified herein to the Plaintiffs,
plus all accrued interest thereon to date, Credit Agricole shall be fully discharged
pursuant to CPLR $$ 5209 or 6204 and Rule 22 of the Federal Rules of Civil Procedure,
as applicable, and released from any and all liability and obligations or other liabilities in
connection with the turnover of those funds, including all writs of execution, notices of
pending action, restraining notices and other judgment creditor process of any kind, whether
served on, or delivered to CA-CIB, to the extent that they apply, purport to apply or attach to the
Turnover Assets, to defendant The Republic of Sudan, and to any agency and instrumentality of

The Republic of Sudan, or to any other party otherwise entitled to claim the Turnover Assets (in

 
Case 1:13-cv-03127-PKC Document 31 Filed 01/06/14 Page 4of5

whole or in part), and any other persons or entities, to the full extent of such amounts so held and
deposited in compliance with this Judgment.

7. Upon payment and turnover by CA-CIB of the Turnover Assets to Plaintiffs, plus
all accrued interest thereon to date, all other persons and entities shall be permanently restrained
and enjoined from instituting or prosecuting any claim, or pursuing any actions against CA-CIB in
any jurisdiction or tribunal arising from or relating to any claim (whether legal or equitable) to the
funds turned over in compliance with paragraph 3 of this Order.

8. Plaintiffs’ Information Subpoena, Interrogatories, and Restraining Notice to
CA-CIB shall be vacated except with respect to the three accounts identified in paragraph 10,
below.

9. An OFAC license is not necessary to disburse these funds and no notice is
necessary to the Sudanese agencies and instrumentalities. See Heiser v. Bank of Tokyo Mitsubishi
UFJ, New York Branch, 919 F, Supp. 2d 411, 422 (S.D.N.Y. 2013); Heiser v. Islamic Republic of
Tran, 807 F. Supp. 2d 9, 23 (D.D.C. 2011); Weininger v. Castro, 432 F. Supp. 2d 457 (S.D.N.Y.
2006).

10. Notwithstanding anything in this Order to the contrary, Plaintiffs reserve all rights
to seek turnover of the following other amounts blocked by CA-CIB pursuant to regulations

promulgated by OFAC, which CA-CIB will continue to restrain:

 

 

 

 

 

 

Account Beneficiary . Value ($)
Respondent Bank’ | “/ Beneficiary Bank | Blocking Date | (a. ot june 29, 2012)
CA-CIB a a
CA-CIB En aa
CA-CIB [ee ae

 

 

 

 

 

 
Case 1:13-cv-03127-PKC Document 31 Filed 01/06/14 Page 5of5

Plaintiffs and CA-CIB shall meet and confer as to these amounts following the

issuance by the Second Circuit of its rulings in Calderon-Cardona v. JPMorgan Chase Bank, N.A.,
No. 12-75 (2d Cir), and Hausler v. JPMorgan Chase, N.A., Nos. 12-1264 & 12-1272 (2d Cir.).

11. This Order enforces a duly registered District Court judgment from the District of

Columbia, recognized by a New York Federal Court and given full faith and credit by this Court.

So ordered, O}-

ANALISA TORRES
United States District Judge

Date: January 6 , 2014

 
